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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
 
 
    UNITED STATES OF AMERICA                    *
                                                *
         v.                                     *      CRIMINAL NO. ELH-14-0271
                                                *
    KEYON PAYLOR                                *
                                                *
              Defendant.                        *
                                                *
                                                *
                                                *
                                             *******
                           MOTION FOR EXTENSION OF TIME

        On April 2 2018, the Court entered an order directing the government to respond to a

motion filed by Keyon Paylor under 28 U.S.C. § 2255. ECF 103. Pursuant to the Court’s order,

the government’s response is due on or before June 1, 2018. The government hereby moves for a

45-day extension of its deadline, on the ground that undersigned counsel are currently occupied

with multiple large racketeering cases, as well as ongoing investigations that are both time-

consuming and complex. Accordingly, the government asks the Court to order and direct that the

government’s deadline for responding to Paylor’s motion be extended until July 16, 2018.




                                              Respectfully submitted,

                                              Rod J. Rosenstein
                                              United States Attorney


                                            By:__/s/____________
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SO ORDERED this ___ day of April, 2018



                                         _________________________
                                         Hon. Ellen L. Hollander
                                         United States District Judge
